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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 

x
IRA EPSTEIN,
Plaintiffs,
-against-
LOWE’s
HOME CENTERS, LLC, Civil Action No. 2:18-cv-04576-DRH-GRB
Defendants.
x

 

SECOND AMENDED VERIFIED COMPLAINT
Plaintiff IRA EPSTEIN by andthrough his attorney, Alan H. Krystal, P.C., as and for his
Amended Complaint, respectiiilly and allege as follows:

Introduction

l. Plaintiff, lRA EPSTE[N, brings this action pursuant to 42 U.S.C. § l981a, the
Age Discrimination in Employment Act, 29 2 USC §62], et seq., and to remedy acts of
employment discrimination and retaliation perpetrated against him by LOWE’s HOME
CENTERS, LLC.. Plaintiff contends that Defendant discriminated against him by passing
over him for promotion because of his age (over 40) and terminated his employment

without just cause.

Ju.risdiction
2. This Court has jurisdiction over the subject matter of this civil action pursuant to
Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e-2, and the Age

Discrimination in Employment Act, 29 USC§ 621, et. seq.

 

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Parties

3. Plaintiff, Ira Epstein is an individual Who is at least 40-years old, is a citizen of
the United States and a resident of the State of New York, County of Suffolk. At all times
relevant to this suit, until his termination in he Was employed by LOWE’s I-IOME
CENTERS, LLC at Store #2233 located at 2150 Nesconset l-Iighway Stony Brook, NY on
Apri115, 2010.

4. Defendant LOWE’s HOME CENTERS, LLC. is a foreign corporation authorized

to do business Within the State ofNeW York, County of Suffolk.

Procedural Prereguisites

5. Plaintiff filed charges of discrimination upon Which this Complaint is based with
the Equal Employment Opportunity Comrnission (“EEOC”).

6. Plaintiff received a Notice of Right to Sue from the EEOC dated April 2, 2018
With respect to the herein charges of discrimination A copy of the Notice is annexed

hereto.

Material Facts
7. Plaintiff began his employment With Defendants at Store #2233 located at 2150
Nesconset Highway Stony Brook, NY on April 15, 2010.
8. During the course of his employment, Plaintiff generally received positive
feedback from Defendants for his performance and received several commendations for

exemplary customer service.

 

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9. On l\/Iarch 28, 2016, Plaintiff was summarily terminated from his employment by
Defendants by Store Manager Brandon McDonald and Assistant Manager Kenyona
Chatman.

10. The purported reason for the termination was Plaintiff’ s alleged failure to
properly prepare and inventory replenishrnent report and leaving his shift one hour early.
11. The reasons for Plaintiff`s termination, Which was given to him without any prior
verbal or written warnings Were as follows:

a. Not following the IR_P stock replenishment report procedure and other
department tasks incorrectly Without any previous warnings that they were incorrect on
two different occasions all-occurring in the previous 2 weeks. Plaintiff had been doing
these reports for over 5 years and Was never told by any manager that he Was doing them
incorrectly In fact, Plaintiff Was entrusted to train every person in the department as the
properly preparing the reports and other job functions

b. Not billing out the inventory loss to the store. However, that job Was the
responsibility of the assistant store manager (ASM) Who Was to verify the missing items
and/or find them and make the appropriate corrections to the inventory. Sal Frisina Was
the ASM assigned to that task those days and he and Plaintiff both Walked the store to find
the missing inventory merchandise which it turned out Was moved to a display in another
area of the store the day before Plaintiff’ s termination, which was his day off.

c. Allegedly leaving his shift early without permission

12. The violations of rules stated for Plaintiff’ s termination Were followed by

Plaintiff correctly. He answered the report questions honestly that he could not find the

 

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required items to replenish the shelves because they were improperly stocked by the night
crew in the wrong aisles or moved to another location in the store. The report procedure
was to note a Yes, he found and replenished the shelf or No, he did find the items and did
not replenish the shelf and attempted to look for them. That is all that was required for the
report. Plaintiff stated that the items were not brought down to the shelves. The items were
later found by the follow up search by an assistant store manager and put onto the shelf.
The actions taken by the management were exaggerated to say Plaintiff didn't follow
procedure, which Plaintiff did correctly according to the procedure Was taught by
management and had been performing for over 5 years

13. Plaintiff did in fact prepare a proper inventory replenishment report

14. Plaintiff did leave his shift one hour early after receiving permission Plaintiff
went to Baylen Hanato the ASM on duty that morning and asked him to approve his
overtime because he was going over the 40 hours for that week He said he could not
authorize the overtime and that I should cut my hours and go horne 1 hour early that day.
Again, no one from management afterwards said anything to Plaintiff that he did anything
Wrong nor Was any report filed for that occurrence Plaintiff s time sheets for those weeks
will also show he had close to 40 hours clocked and would have gone into overtime if the
ASM didn’t approve my reduction in hours.

15. At the time of his termination, Plaintiff was on a final notice for an incident that
they claimed occurred, 9 months prior, of being accused, without any proof, of damaging
two refrigerators With a motorized lift and not reporting it to a supervisor. The store
security camera showed the incident never occurred Plaintiff never hit the refrigerators

which another employee the next day claimed he hit the refrigerators, but the store

 

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manager refused to take my word over the other employee who claimed Plaintiff did it
without any other verification This employee never said anything to Plaintiff at the time
of the supposed incident nor did he report it to a supervisor at the time Lowes never
supplied any incident report of the accident ASM Ken Lindgren was present when
Plaintiff was put on final notice by Howard Kohler, the store manager and defended
Plaintiff at that meeting stating, that knowing Plaintiff, he would have reported any
damage he had caused if he had knowingly done it.

16. At the time of warning, Plaintiff wrote the fact that he denied having that
accident in the comments section on the sheet he signed for that write up. The store
manager refused to give Plaintiff a copy of the report at the time and threatened Plaintiff
with termination on the spot if he did not sign it. The report filed with Lowes was
subsequently altered with Plaintiff s comments Were erased from the report

17. Plaintiff`s date of birth is June 16, 1952. He was 63 years old at the time of his
termination

18. Plaintiff had previously applied for the manager’ s position in 2015 and was told
by Katrina Denning, the HR manager at the tirne, that even though he was the most
qualified person for the position and he was already doing most of the managerial
functions, the store manager, Howard Kohler, was going in another direction Plaintiff
asked Ms. Denning jokingly if it had anything to do with the fact that he was old, and she
said she was not allowed to answer that question by law, but that it was Lowes policy to
have someone interested in a longer career path with Lowes. The person hired for that

position was Greg Bergman who was in his 30’s

 

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19. At the time of his termination Defendants had exhibited a pattern of denying
promotions to older workers and summarily terminating older workers without just cause.
Prior to Plaintist termination Defendant fired other older employees, replacing them
with younger ones, Among the employees terminated were Thomas DeBernardo (age 60)
Plumbing Sales Specialist, Sal Valenza (age 65)»- Sales Specialist Appliance and an

employee know to Plaintiff as “Bob” (age 62 ) who worked in Millwork.

20. Prior to Plaintiff s termination Howard Kohler was replaced a store manager, by
Brandon McDonald who continued the purge of older Workers. Each of the older sales
specialists had been called in for a meeting and were written up for bogus reasons so that
Lowes could have on the record reasons for terminating them.

21. Based upon the prior statements of Katrina Denning, the threat by Howard Kohler to
terminate Plaintiff s employment if he did not sign the final warning notice, and the
subsequent terminations of Plaintiff and other older workers, it was clear that Defendant
had a deliberate plan and intent to terminate Plaintiff and other older employees and to
“hire those people who are interested in long term careers with Lowes.”

22. The purported reasons for Plaintist termination which have been refuted herein,
were false. lt is apparent from the prior statements of Katrina Denning and the subsequent
other older workers, that age Was clearly “but-for” factor in the decision by Defendant to
terminate Plaintiff’ s employment

23. Upon information and belief, Plaintff was replaced in his position by a younger

employee under the age of 40.

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24. Due to his age, Plaintiff has been unlawfully discriminated against, humiliated,
degraded and belittled and as a result suffers loss of rights, emotional distress, loss of
income and earnings

25. The Defendants’ actions were intentional and intended to harm Plaintiff

26. As a result of the actions and conduct complained of herein, Plaintiff bas suffered
a loss of income, the loss of a salary, bonus, benefits, and other compensation which such
employment entails, and Plaintiff has also suffered future pecuniary losses, emotional
pain, suffering, inconvenience, loss of enjoyment of life, and other non-pecuniary losses.
Plaintiff has further experienced severe emotional distress

27. As a result of the above, Plaintiff has been damaged in an amount which
exceeds the jurisdictional limits of the Court.

28. Defendants’ conduct has been malicious, willful, outrageous, and conducted

with full knowledge of the law.

Count One

(Age Discrimination in Violation of the Age

Discrimination in Employment Act (ADEA)29 USC 621)
29. The foregoing paragraphs are realleged and incorporated by reference herein
30. Defendant was an “employer” as defined by §1 l(b) of the Age Discrimination in
Employment Act, as amended [29 U.S.C. §630(b)].
31. The subjection of plaintiff to disparate treatment and adverse employment actions
by defendants in whole or substantial part because of his age was in violation of the

ADEA, 29 U.s.C. §623(1)_

 

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32. Defendant’s conduct as alleged at length herein constitutes discrimination based
on age in violation of Discrimination in Ernployment Act (ADEA) The stated reasons for
the Defendant’s conduct were not the true reasons, but instead were pretext to hide the
Defendant’ s discriminatory animus
33. Plaintiff was over 40 years old and qualified for his position when he was
terminated
34. n Plaintiff performed his job satisfactorily at all times while employed by Defendant.
35 . Defendant terminated Plaintiff because of Plaintiff`s age.

36. Plaintiff exhausted his administrative remedies.

37. Defendant’s violation of the ADEA was willful and plaintiff seeks liquidated
damages for each violation

38. As a result of Defendants’ actions, Plaintiff has been made to suffer mental
anguish and emotional distress, loss of employment and future employment opportunities,
and loss of wages and benefits, as the direct and proximate result of defendantsl violation
of his civil rights as alleged herein Plaintiff is reasonably certain to continue to suffer
these damages in the future Plaintiff is entitled to the rights and remedies at law provided
by the ADEA, 29 U.S.C. §216(b) including actual darnages, compensatory damages,

liquidated damages, and attorneys' fees.

Count Two

Discrimination Under State Law

39. The foregoing paragraphs are realleged and incorporated by reference herein

 

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40. Executive Law§ 296 provides that "It shallbe anunlawful discriminatory practice:
(a) For an employer or licensing agency, because of an individual's age, race, creed,
color, national origin, sexual orientation military status, sex, disability, predisposing
genetic characteristics, marital status, or domestic violence victim status, to refuse
to hire or employ or to bar or to discharge from employment such individual or to
discriminate against such individual in compensation or in terms, conditions or

privileges of employment."

41. The subjection of plaintiff to disparate treatment and adverse employment actions
by defendants in whole or substantial part because of his age was in violation of

Executive Law§ 296.

42. As a result of Defendant’s conduct, Plaintiff has been made to suffer loss of his
employment, income, benefits, and job security, as the direct and proximate result of the
violation of his civil rights under Executive Law§ 296. Plaintiff has also been made to
suffer mental anguish, pain and suffering, embarrassment and humiliation as the direct
and proximate result of the violation of his civil rights as alleged herein Further,
Plaintiff is reasonably certain to suffer these damages in the future. Plaintiff seeks all
applicable rights and remedies provided by New York State law, including, but not
limited to, recovery of actual damages, compensatory damages, , punitive damages,

interest, costs, disbursements and her attorneys' fees.

 

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Prayer for Relief

Wl-IEREFORE, Plaintiff respectiiilly requests a judgment against the Defendants:

A. Declaring that Defendants engaged in unlawful employment practices prohibited by
The Age Discrimination in Employment Act (ADEA)29 USC 62l) and the New York State
Executive Law §296 et. seq. in that Defendants discriminated against Plaintiff on the basis

of his age;
B. Awarding damages to Plaintiff for all lost wages and benefits resulting from Defendants'

unlawful age discrimination and retaliation and to otherwise make him whole for any losses

suffered as a result of such unlawful employment practices;

C. Awarding Plaintiff compensatory damages for mental, emotional and physical injury,

distress, pain and suffering and injury to his reputation in an amount to be proven;

D. Awarding Plaintiff attorneys’ fees, costs, and expenses incurred in the prosecution of

the action; and

E. Awarding Plaintiff such other and further relief as the Court may deem equitable, just

and proper to remedy Defendants’ unlawful employment practices

 

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Demand for ng Trial
. Plaintiff hereby requests a jury trial on all issues raised in this complaint
Dated: Nesconset, New York
December 13, 2018
Respectfully Submitted
ALAN H. KRYSTAL, P.C.

By:_/s/

 

Alan H. Krystal, Esq. (AK-0925).
Attorney for Defendants
195 Smithtown Boulevard~Suite 101
Nesconset, New York 1 1767
(631) 780-6555

alan@alankrystallaw.com

 

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VERlFICATI()N
State of New York, County of Suffolk ss.:

lRA EPSTEIN, being duly sworn, deposes and says: 1 am the Plaintiff in this proceeding l have
read the Second Amended Cornplaint know the contents to be true from my own knowledge,
except as to those matters stated on information and belief, and as to those matters, l believe
them to be true

IRA EPSTETN

 

Sworn to before me thisl-§‘day of December 2018

 

 

Notary Public{;j

 

ALAN H KRYSTAL
NO'I`ARY PUBLlC, STA'[`E OF NEW YORK
Registration No. 02KR4796858
Qualifled in Suffolk County
Ccmmission Expires September 10, 2019

 

 

 

 

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CERTIFICATE OF SERVICE

l hereby certify that on the 14th day of December 2018, I served the following:
SECOND AMENDED COMPLAINT

on the following attorney(ies) by filing via ECF:

Attorneys for Defendant:

HUNTON ANDREWS KURTH LLP

l oshua S. Paster

200 Park Avenue NewYork, NewYork 10166 j paster@hunton.com

ALAN H. KRYSTAL, P.C.

By: /s/

 

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ascertain urscsr: 06/29/2018
U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
New Ycrk District Office

    

33 Whitehall Street, 5"' Floor

New York, NY lOOO4-Zl 12

For Genera| lnfonnation: (SOO) 669-4000
Ti`Y: {800)-669-6820

District Off:ce: {2l2) 336~3620

Gencral FAX: (2§2) 336-3625

Alan H. Krystal, Esq.

Alan H. Krystal Attomey at Law
195 Smlthtown Blvd., Suite 101
Nesconset, NY 11767

Re; EEOC Charge No. 520-2016-03671
Epstein v_ l_owe’s

Dear Mr. l<rystal,

The Eq ual Employment Opportuhity Commission (hereinafter referred to as the "Commlsslon")
has reviewed the above-referenced charge according to our charge prioritization procedures
These procedures which are based on a reallocation of the Commlssion‘s staff resources1
apply to ali open charges in our inventory and call for us to focus our limited resources on those
cases that are most likely to result in findings of violations of the laws we enforce

|n accordance with these procedures we have examined the information and evidence you
submitted supporting your allegations of discrimination based on age.

Respondent's position statement has been previously shared Wlth you. Your rebuttal to this
position statement has been received and analyzed Based upon this analysis the Commission
is unable to conclude that the information establishes a violation of Federal law on the part of
Respondent. This does not certify that Respondent ls in compliance With the statutes No
finding is made as to any other issue that might be construed as having been raised by this
charge

The Commisslon's processing of this charge has been concluded lncluded with this letter is
your Not§ce of Disrnissa! and Right to Sue. Followlng this dismissal, you may only pursue this
matter by filing suit against the Respondent named in the charge within 90 days ct receipt of
said notice Otherwise, your right to sue Will be lost

P|ease contact |nvestigator Pau| Young at (212) 336~3783 or pau|.young@eeoc.§ov if you have
any questions

M nn oz in

Sln

    

or
Kevin J. Berry Date
District Dlrector

CC:

lra Epstein

205 Springmeadow Drive, Unit N
Holbrook, NY 11741

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